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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )        CRIMINAL ACTION NO.
       v.                             )         2:12cr48-MHT
                                      )              (WO)
MICHAEL SMITH                         )

                                   ORDER

       After consideration of the recommendation of the

United States Magistrate Judge (doc. no. 187) and the

objections filed by defendant Michael Smith (doc. no.

199) and by the government (doc. no. 197); and after an

independent and de novo review of the record, including

the    transcript      of   the   hearing     before    the    magistrate

judge, it is ORDERED that the matter is remanded to the

magistrate judge with the following instructions:

       (1) The United States Magistrate Judge is to be more

explicit as to whether the Incident and Duty Officer

Reports are or are not protected under Garrity v. New

Jersey, 385 U.S. 493 (1967), and to explain fully why or

why not;
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       (2) Because defendant Michael Smith argues for the

first time in his objection to the recommendation that

the     statements      he    made    to   the    Alabama      Bureau      of

Investigation (ABI) were compelled on threat of job loss,

having previously argued only that the ABI interview was

improperly tainted by defendant Smith’s prior compelled

statements, the United States Magistrate Judge is also to

address whether the statements defendant Smith made to

the ABI are or are not protected as compelled statements

under Garrity v. New Jersey, 385 U.S. 493 (1967), and to

explain fully why or why not.

       DONE, this the 22nd day of May, 2013.

                                          /s/ Myron H. Thompson
                                      UNITED STATES DISTRICT JUDGE
